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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CaSe NO. 05-80807-CiV-COHN/SNOW
AIRTIME MANAGEMENT, INC.,

Plaintiff,

     
 
    

v. HLEDby__

TIME TECHB=NOLOGIES, INC., and

 

JosEPH BEKANICH, FEB ~ 9 2006
CLARENCL MADDOX
Defendants . / l s_c$_€%KF L::.LSA.l c>FlTsTLAch

 

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THIS CAUSE is before the Court on Defendants, Time
Teohnologies, Inc.'s and Joseph Bekanich’s Motion for Protective
Order (Docket Entry 27), which was referred to United States
Magistrate Judge Lurana S. Snow. The Court being advised, it is
hereby
ORDERED AND ADJUDGED that the motion iS DENIED AS MOOT.

DONE AND ORDERED at Fort Lauderdale, Florida, this §Ség`

Q:§.¢M~M”"M

UNITED STATES MAGISTRATE JUDGE

day of February, 2006.

 

Copies to:
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Veytsman)
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